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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                          )
SKYLER HEAVANS                            )
                                          )
                     Plaintiff,           )
                                          )
v.                                        )                     Civil Action No. 22-836 (BAH)
                                          )
GENE DODARO                               )
Comptroller General of the United States, )
                                          )
                             Defendant.   )
__________________________________________)

          JOINT MOTION TO MODIFY THE COURT’S SCHEDULING ORDER

         On behalf of Plaintiff and Defendant (“the parties”), and at the request of Magistrate Judge

Faruqui, the undersigned counsel jointly and respectfully move to modify the Court’s March 3,

2023 Scheduling Order (as modified by the Court’s April 18, 2023, Minute Order), by moving all

discovery deadlines by 30 days.

         In support of this motion, the parties state as follows:

         1.     On March 3, 2023, the Court issued a Scheduling Order. Discovery was to begin

with the exchange of initial disclosures by April 24, 2023. Discovery was set to close on

September 8, 2023, with dispositive motions due by October 13, 2023. March 3, 2023 Minute

Order.

         2.     On April 18, 2023, because of the April 24, 2023 mediation, the parties jointly

proposed that the Court amend the Scheduling Order so that the parties would exchange initial

disclosures by May 1, 2023. The Court amended the initial disclosure deadline accordingly.

April 18, 2023 Minute Order.
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       3.       On April 24, 2023, the parties participated in mediation before Magistrate Judge

Faruqui. Magistrate Judge Faruqui needs additional time to facilitate settlement and instructed the

parties to seek additional time from the Court to further explore settlement options.

       4.       Because of these developments, the parties propose this modification in good faith

and not for the purpose of delay. The parties propose that the Court extend the discovery deadliens

for 30 days so that they can continue the mediation with Magistrate Judge Faruqui.

       For the foregoing reasons, the parties respectfully and jointly request that the Court grant

this motion and extend all deadlines by 30 days.



 Events                           Current Deadlines                Proposed Deadlines

 Initial disclosures              May 1, 2023                      May 31, 2023

 Amended pleadings;               May 5, 2023                      June 5, 2023
 Joinder of parties

 Plaintiff’s experts              May 22, 2023                     June 21, 2023

 Defendant’s experts              June 23, 2023                    July 24, 2023

 Plaintiff’s rebuttal             July 14, 2023                    August 14, 2023
 experts

 Discovery closes                 September 8, 2023                October 9, 2023

 Dispositive motions              October 13, 2023                 November 13, 2023

 Dispositive motion               November 13, 2023                December 13, 2023
 responses

 Dispositive motion               December 15, 2023                January 15, 2024
 replies




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       A proposed Order is being filed with this motion.



Dated: April 26, 2023                              Respectfully submitted,


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                                                   United States Attorney

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                     Plaintiff,           )
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v.                                        )                     Civil Action No. 22-836 (BAH)
                                          )
GENE DODARO                               )
Comptroller General of the United States, )
                                          )
                             Defendant.   )
__________________________________________)


                                        [PROPOSED] ORDER

           Upon consideration of the Joint Motion to Modify the Court’s Scheduling Order, and the

entire record herein, IT IS ORDERED that the motion is GRANTED.

           IT IS FURTHER ORDERED that:

           By May 31, 2023, the parties shall exchange initial disclosures required by Federal Rule

of Civil Procedure 26(a)(1);

           By June 5, 2023, the parties shall file any amended pleadings and join any additional

parties;

           By June 21, 2023, plaintiff's experts shall be designated with required expert disclosures

and reports exchanged, by July 24, 2023, defendant's affirmative and rebuttal experts designated

with required expert and rebuttal expert disclosures and reports exchanged, and by August 14,

2023, plaintiff's rebuttal experts designated with required rebuttal expert disclosures and reports

exchanged;

           By October 9, 2023, all discovery shall close; and




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       By November 13, 2023, the parties shall file any dispositive motions, with any responses

to be filed by December 13, 2023, and any replies to be filed by January 15, 2023.

       SO ORDERED this _______ day of _________________, 2023.




                                     ____________________________________________
                                           HON. BERYL A. HOWELL
                                           UNITED STATES DISTRICT JUDGE




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